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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

KATELYN HANKS,                                      §
  Plaintiff,                                        §
                                                    §
v.                                                  §    Civil Action No.: 3:19-cv-02207-S
                                                    §
LA MICHOACANA MEAT MARKET                           §
TM HOLDINGS, LLC and ROADE                          §
PROPERTIES, LTD.                                    §
  Defendants.                                       §


         JOINT STIPULATION TO DISMISS DEFENDANT LA MICHOACANA
             MEAT MARKET TM HOLDINGS, LLC WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), Plaintiff KATELYN HANKS

(“Plaintiff”) and Defendant, ROADE PROPERTIES, LTD. (“Defendant”) (collectively, the

“Parties”), hereby stipulate and agree that Plaintiff will dismiss Defendant, LA MICHOACANA

MEAT MARKET TM HOLDINGS, LLC, with Prejudice, all claims asserted or that could have

been asserted by Plaintiff against Defendant, LA MICHOACANA MEAT MARKET TM

HOLDINGS, LLC., in this action. The Parties also hereby agree and stipulate that each party

shall be solely responsible for their own attorneys’ fees and costs. Defendant, ROADE

PROPERTIES, LTD. remains a party to this action.

Respectfully Submitted,

/s/ Douglas S. Schapiro
Douglas S. Schapiro                                                Emil Lippe, Jr.
Northern District of Texas ID No. 54538FL                          State Bar No. 12398300
The Schapiro Law Group, P.L.                                       Lippe & Associates
21301 Powerline Road, Suite 106                                    12222 Merit Drive, Suite 1200
Boca Raton, FL 33433                                               Dallas, TX 75251
Tel: (561) 807-7388                                                Tel: (214) 855-1850
Email: schapiro@schapirolawgroup.com                               Fax: (214) 720-6074
                                                                   Email: emil@texaslaw.com



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Attorney for Plaintiff                                             Attorney for Plaintiff
-and-
/s/ Ruth M. Willars
Ruth M. Willars
MONTY & RAMIREZ LLP
Texas SBN: 24003175
Fed. ID No.: 28285
150 W. Parker Road, 3rd Floor Houston, TX 77076
Ph.: 281-493-5529
Fax: 281-493-5983
Email: rwillars@montyramirezlaw.com
Attorney-in-Charge for Defendants


                                   CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY, a true and correct copy of the above and foregoing has been

filed electronically with the Clerk of the Court using CM/ECF/system on this December 5, 2019.


                                                    /s/ Douglas S. Schapiro
                                                     Douglas S. Schapiro, Esq.
                                                     No. District of Texas ID No. 54538 FL




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